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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                Plaintiff,

 v.                                        Criminal Action No. 5:09CR27-04
                                                                   (STAMP)
 DONNELL GLOSTER a/k/a “Keeter”
 f/n/a FNU LNU,

                Defendant.


                         MEMORANDUM OPINION AND ORDER
                      AFFIRMING AND ADOPTING REPORT AND
                     RECOMMENDATION OF MAGISTRATE JUDGE
                    THAT MOTION TO SUPPRESS OUT-OF-COURT
                           IDENTIFICATION BE DENIED

                             I.   Procedural History

         On July 8, 2009, the defendant, Donnell Gloster (“Gloster”),

 a/k/a “Keeter,” f/n/a FNU LNU, was named in two counts of a three-

 count superceding indictment charging him with conspiracy and

 aiding and abetting attempted escape.                 On July 17, 2009, the

 government identified Donnell Gloster as “Keeter.”                On August 12,

 2009,    the    defendant   filed   a   motion   to    suppress    out-of-court

 identification.       The government responded in opposition to the

 motion.

         United States Magistrate Judge James E. Seibert conducted an

 evidentiary hearing on the pending motion to suppress.               On August

 26, 2009, the magistrate judge entered a report recommending that

 the defendant’s motion to suppress be denied.            Upon submitting his

 report, Magistrate Judge Seibert informed the parties that if they

 objected to any portion of his proposed findings of fact and
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 recommendation for disposition, they must file written objections

 within ten days after being served with a copy of the report.                    The

 defendant did not file objections.

                                      II.    Facts

          A person at the West Virginia Northern Regional Jail reported

 that five people in a car cut a fence at the jail.                   At the time,

 co-defendant Lonnie Smith was incarcerated at that jail.                    After an

 investigation, co-defendant Leena Spivey (“Spivey”) agreed to

 cooperate with the deputy marshal investigating the attempted

 escape.      Spivey identified two accomplices as Tanequa Smith and

 Keeter. While Spivey did not know Keeter’s real name, she did take

 the deputy marshal to Keeter’s apartment building.                          A deputy

 marshal in Pittsburgh sent a Pennsylvania identification card of

 Gloster to the investigating deputy marshal.                   The deputy marshal

 showed only this picture to Spivey. Spivey immediately and without

 hesitation identified Gloster as Keeter.

                           III.   Standard of Review

          Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

 a   de    novo   review   of   any    portion       of   the   magistrate    judge’s

 recommendation to which objection is timely made.                     As to those

 portions of a recommendation to which no objection is made, a

 magistrate judge’s findings and recommendation will be upheld

 unless they are “clearly erroneous.”            See Webb v. Califano, 468 F.

 Supp. 825 (E.D. Cal. 1979).                Here, no party filed objections.




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 Accordingly, this Court reviews the report and recommendation of

 the magistrate judge for clear error.

                                    IV.   Discussion

        An        impermissibly     suggestive     and      unreliable    pretrial

 identification will violate a defendant’s right to due process if

 introduced into a criminal proceeding.             See Manson v. Brathwaite,

 432 U.S. 98, 114 (1977); Neil v. Biggers, 409 U.S. 188, 198 (1972).

 Thus, a defendant challenging a pre-trial identification must first

 show     that       the   identification       procedure     was   impermissibly

 suggestive.         Holdren v. Legursky, 16 F.3d 57, 61 (4th Cir. 1994).

 If the defendant meets this burden, the court must determine

 “whether the identification was nevertheless reliable under the

 totality of the circumstances.”            Id.

        In considering the totality of the circumstances, the Court

 must weigh the corrupting effect of a suggestive identification

 against the reliability of the identification. Manson, 432 U.S. at

 114-15; Biggers, 409 U.S. at 198. Reliability is determined by (1)

 the opportunity the witness had to view the defendant, (2) the

 witness’s degree of attention, (3) the accuracy of the defendant’s

 prior description, (4) the level of the witness’s certainty, and

 (5) the length of time between the crime and the confrontation.

 Manson, 432 U.S. at 114-15.

        Magistrate Judge Seibert recommends that the defendant’s

 motion      to    suppress   the   out-of-court    identification       be   denied

 because the witness, Leena Spivey, had the opportunity to observe



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 Gloster on two consecutive evenings, once in defendant’s residence

 and once in a car for three to four hours.                      The magistrate judge

 concluded that, while displaying only one photograph to a witness

 is      generally      impermissibly         suggestive,             the     out-of-court

 identification nonetheless was reliable under the totality of the

 circumstances.

         Assuming, without deciding, that the one photograph display

 method of identification used in this case was impermissibly

 suggestive, the identification here has sufficient indicia of

 reliability to satisfy the strictures of due process.                               First,

 Spivey had the opportunity to view Gloster twice, both in a car for

 three    to   four    hours    and    at   his        residence      when   planning    the

 attempted escape.        Second, this Court agrees with the magistrate

 judge that the witness’ degree of attention is irrelevant here

 considering the significant time the two spent together planning

 Lonnie Smith’s escape and riding in the car to cut the fence.

 Third,    while      there    is    no   testimony        as    to    Spivey’s     initial

 description, there is testimony that she instantly and without

 hesitation     identified          Gloster       as    Keeter     when      she   saw   his

 photograph. Fourth, the instantaneous identification clearly shows

 the certainty of the identification. Fifth, and finally, the crime

 occurred on March 29, 2009 and the identification occurred some

 time before the superceding indictment was returned on July 8,

 2009.      This Court agrees with the magistrate judge that the

 witness’ opportunity to observe Gloster on two occasions while in



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 a car and at his residence indicates that the witness’s ability to

 make   an   accurate    identification     was   not   outweighed    by   any

 corrupting effect of the one photograph display.          Accordingly, the

 defendant’s motion and amended motion to suppress out-of-court

 identification must be denied.

                               V.   Conclusion

        For the reasons set forth above, this Court finds that the

 magistrate judge’s recommendation is not clearly erroneous and

 hereby AFFIRMS and ADOPTS the report and recommendation of the

 magistrate judge.      The defendant’s motion to suppress out-of-court

 identification is DENIED.

        IT IS SO ORDERED.

        The Clerk is directed to transmit a copy of this memorandum

 opinion and order to the defendant and to counsel of record herein.

        DATED:     September 29, 2009



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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